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SEALED

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

In the Matter of the Search of Case No. 20-3262MB

12828 N. Mountainside Dr. #101 ORDER
Fountain Hills, AZ 85268
(Under Seal)

Based upon the United States of America’s Motion to Extend Time to Maintain
Search Warrant Materials Under Seal, and good cause appearing,

IT IS HEREBY ORDERED that the time to maintain under seal the Search
Warrant and Return, the Application for Search Warrant, the Affidavit and any attachments
thereto, the Motion to Seal, and the Order to Seal be extended for an additional 180 days,
from May 3, 2021 to and including October 30, 2021.

IT IS FURTHER ORDERED that the instant Motion and this Order be filed under

seal. hr
DATED this | lp day of April, 2021.

ON BLE DEBORAH M. FINE
United States Magistrate Judge

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

In the Matter of the Search of

. Case No. 20-3262MB
12828 N. Mountainside Dr. #101
Fountain Hills, AZ 85268 MOTION TO EXTEND TIME TO
MAINTAIN SEARCH WARRANT
MATERIALS UNDER SEAL

(First Extension)

(Under Seal)

On November 4, 2020, the Court authorized a search warrant in the above-captioned

matter and ordered that the Search Warrant and Return, the Application for Search Warrant,
the Affidavit and any attachments thereto, the Motion to Seal, and the Order to Seal filed .
in this matter (“the Sealed Materials”) would remain under seal for 180 days, unless further
extensions were granted by the Court. The current date on which the order to seal is set to
expire is May 3, 2021. The United States is now seeking an order extending the order to
seal for an additional 180 days.

An order extending the sealing of the Sealed Materials is authorized and appropriate.
See Matter of Search Warrants Executed on February 14, 1979, 600 F.2d 1256, 1257 (9th
Cir. 1979) (“[cJourts have inherent power, as an incident of their constitutional function,

to control papers filed with the courts within certain constitutional and other limitations.”).

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Sealed Materials are regularly maintained under seal by the Court pending the completion
of a criminal investigation.

Here, an extension of the sealing order is appropriate because the search warrant
relates to an ongoing criminal investigation that is neither public nor known to all of the
targets of the investigation, and its disclosure may alert the targets to the ongoing
investigation. Accordingly, there is reason to believe that notification of the existence of
the warrant will seriously jeopardize the investigation or unduly delay a trial, including by
giving targets an opportunity to flee or continue flight from prosecution, destroy or tamper
with evidence, change patterns of behavior, notify confederates, intimidate potential
witnesses, or endanger the life or physical safety of an individual. See 18 U.S.C. § 2705(b).

Based on the foregoing, the United States respectfully requests the Court extend the
time for maintaining the Sealed Materials under seal for an additional 180 days. The
government further requests this Motion, and any order resulting from it, be filed under

seal. °

Respectfully submitted this 16 day of April, 2021.

PAUL ANTHONY MARTIN
Acting United States Attorney
District of Arizona

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